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Resio, D.T., and Dean, R.G., IPET, MMTF 00038-06, pp 70-97). (*E. Busch statement dated
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Cobos-Roa, 2008.) ..................................................................................................... 2-2

Photo 2.2 IHNC between Claiborne and Florida Avenue Bridges. (Air photo provided by
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Photo 2.3 East Bank of IHNC with all infrastructure, as well as the Galvez Street Wharf
on west side are removed. Photo dated November 13, 2002. (Air photo with remarks
provided in R. B. Bea and D. Cobos-Roa, 2008.) ..................................................... 2-4

Photo 2.4 IHNC between Claiborne and Florida Avenue Bridges. Note there has been
additional excavation along the floodwall waterfront and trailers along floodwall at the
North Breach Area. Photo was taken in February 2004. (Air photo provided by the
Natural Resources Conservation Service of the U.S. Department of Agriculture)..... 2-5

Photo 2.5 Infrared photograph of IHNC between Claiborne and Florida Avenue Bridges.
Photograph indicates that isolated low spots are present in the floodwall waterfront
ground surface adjacent to the North Breach and South Breach. The photograph is
dated February 2004. (Air photo provided by the Natural Resources Conservation
Service of the U.S. Department of Agriculture) .......................................................... 2-6

Photo 2.6 IHNC east waterfront on April 13, 2005. Note significant excavation between
the North and South Breach areas, and additional excavation at canal at North Breach
and at south end of South Breach. (Air photo with remarks provided by R. B. Bea and D.
Cobos-Roa, 2008.) .................................................................................................... 2-7

Photo 2.7 IHNC east between Claiborne and Florida Avenue Bridges. WGI trailers
which were present along floodwall near Florida Avenue are gone. Ponded area
adjacent to North and South Breach are absent. Additional excavation is present
between the North and South Breach areas and at south end of the South Breach. Air
photo dated June 2005. (Air photo provided by the Natural Resources Conservation
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Photo 2.8 Eastside of IHNC just north of South Breach, before April 13, 2005 and after
Hurricane Katrina, showing low areas adjacent to floodwall had been filled prior to
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Photo 4.1 Still of earliest available video of the North Breach after Hurricane Katrina.
Floodwaters flowing back into the canal. Video dated August 30, 2005 at 12:55 pm.
Floodwater level low enough to see ground surface on waterfront side. South view.
(Photo copied from hard drive borrowed from Brian A. Gilbert, Esq., Law Office of Brian



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A. Gilbert, P.L.C., location of video: IHNC files\CDs\dvd's 6-3-08\Mark
Price\Files\Photos-videos 1\P3\Captured CCD\Katrina10.mp2. Video dated August 30,
2005) .......................................................................................................................... 4-2

Photo 4.2 North Breach at the Lower Ninth Ward. Water is shown flowing back into the
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Photo 4.3 No-flow condition at the North Breach. Back erosion in front of the failure and
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ridge of sediments deposited from eastward to southward floodwater flows into the
Lower 9th Ward. East view. (IPET report, Appendix Volume 14) ................................ 4-4

Photo 4.4 IHNC between Claiborne and Florida Ave. Bridges in October 2005 showing
the North and South Breaches. Note the slight bend at the south end of the North
Breach Compared to the South Breach. The Floodwalls at the North and South
Breaches scaled to a maximum east end displacement of 80 ft and 195 ft, respectively.
(Air Photo Provided by the Natural Resources Conservation Service of the U.S.
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Photo 4.5 Temporary levee installed on canal side across the North Breach. At the
north end of the breach, east-west ridge of washed sediment on north side is present.
Note exposure of the sheetpile just north of the failure on land side from in-rush of
floodwater when the wall was displaced eastward at the end of the breach and water-
filled scour trench just south of failure. Closer to the breach, the trench appears fairly
uniform width but wider than it is to the south. Just north of the breach at the floodwall
corner (where the wall elevation is 1 ft higher than at the failure reach) no scour can be
seen. Southwest View. (IPET website, Post-Katrina, Presentations, “The Anatomy of a
Disaster” dated June 7, 2006) .................................................................................... 4-6

Photo 4.6 Installing temporary levee in front of North Breach. Note broken and missing
concrete at monolith joints. Concrete completely missing where it has “fanned”
downward. Note floodwall at north end of the breach has translated about 80 ft to the
east and rotated about 270E. West View. (IPET Appendix Volume 6 and L. Harder,
October 14, 2005). ..................................................................................................... 4-7

Photo 4.7 Abrupt tear at north end of North Breach. Continuous (unjointed) concrete
panel to north corner with breach occurring at construction joint. Note sheetpile at south
end of this panel was pulled laterally eastward out of bottom of the concrete panel and
tore just south of the interlock with adjacent sheet. Note the smooth “curved” surface
from concrete against sheetpile at south end of the existing monolith. The eastward
displaced sheetpile appears to have been also torn off the sheetpile in the older
southern monolith. The southern monolith had a lower top elevation of 1 ft. Northwest
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Photo 4.8 North end of North Breach. Appears steel rebar was used in monolith to the
north. Note the sheetpile is torn off and rebar is bent landward. Opposite view of Mr.
Villavasso, when he observed the failure. Northeast view (Photo produced by LaFarge,
North America, LNA001155). ...................................................................................... 4-9

Photo 4.9 North Breach showing north end of the floodwall laying flat on ground having
rotated 270E. Except for where wall has been twisted upside down, the greatest
fragmentation and twisting strain appears be at the construction joints. Southeast view.
(Photo produced by LaFarge, North America, LNA001148)...................................... 4-10

Photo 4.10 Most of the North Breach to the south end. The failed floodwall displaced
eastward and twisted 270E with sheetpile completely out of the ground close to the
south end. The twisting of the sheetpile indicated (without tearing) appears up to 28E in
4.5 ft. Note in this section there has been rotation along the interlock joint. South view.
(Photo produced by LaFarge, North America, LNA001158)...................................... 4-11

Photo 4.11 South end of North Breach. Washout from flow of floodwaters into Lower 9th
Ward can be seen along wall at south end exposing sheetpile. South view. Photo taken
on October 4, 2005. (Preliminary ILIT Report dated November 2, 2005,
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Photo 4.12 depicts the more gradual twisting of the wall at the south end of the North
Breach. Torsion or twisting strains greatest at the joints. Note from the flow of
floodwaters into the Lower 9th Ward the levee soil was washed along the wall and
exposed the sheetpile. At the joint in the middle of the photo, the sheetpile appears to
have been peeled off the back of the wall south of the joint. South view. (Photo
produced by LaFarge, North America, LNA001142) ................................................. 4-13

Photo 4.13 South end of the North Breach with floodwall twisted down slope. Note
discrete deformations at joint locations. North View. (IPET website, “Post-Katrina,”
“Lake Pontchartrain LA,” 9th Ward Photos, dated October 26, 2005) ....................... 4-14

Photo 4.14 Earliest available photograph where canal water is still flowing into the
Lower 9th Ward but hasn’t reached top of school bus and is now below the crown of the
levee. In the northern portion of breach, back erosion occurred to the west, and the
upper portions of the earthen levee are gone. Location of the turbulent flow along canal
ridge near the middle of the breach may have been the south end of the initial failure
where canal water flowed in along the twisted floodwall, such as is present along the
north and south ends of the breach. Note, where present, the top of ridge appears to be
close to the same elevation as adjacent unfailed sections. Also, the canal and land-side
levee ridges are not parallel. Northeast view. (IPET report entitled “Performance
Evaluation of the New Orleans and Southeast Louisiana Hurricane Protection System,
Final Report of the Interagency, Performance Evaluation Task Force, Appendix Volume
14,” by U.S. Army Corps of Engineers, June 2007) .................................................. 4-19




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Photo 4.15 Photograph of southern part of South Breach after Katrina. Floodwater,
which is to the top of the school bus, is now flowing out of the Lower 9th Ward with the
canal water at a lower elevation than in Photo 4.14. Note only canal-side levee ridge
visable due to erosion from water flowing into the Lower 9th Ward. Southeast View.
(IPET report entitled “Performance Evaluation of the New Orleans and Southeast
Louisiana Hurricane Protection System, Final Report of the Interagency, Performance
Evaluation Task Force, Appendix Volume 17,” by U.S. Army Corps of Engineers, June
2007) ......................................................................................................................... 4-20

Photo 4.16 Photograph of South Breach showing flow from the Lower 9th Ward into the
canal. Note that at this time waterfront ground surface is visible and land-side levee
ridge is not visible. Also, back-erosion is now apparent in this photo at the south, as well
as north ends of breach from canal water flowing into the Lower 9th Ward. (“9th Ward
Barge and Levee Photos”) ........................................................................................ 4-21

Photo 4.17 Photo indicates the time was 2:35 pm on the day of Hurricane Katrina. At
this location there appears to be a no-flow condition across the South Breach. Note no
land-side and only a canal-side ridge is present across a small portion of breach.
Waterfront ground surface now present at a water elevation estimated at 8 ft based on
hydrograph data. Barge can be seen on flood side just south of the breach. West view.
(IPET Appendix Volume 5, by U.S. Army Corps of Engineers and Team Louisiana final
report entitled “The Failure of the New Orleans Levee System during Hurricane Katrina”
dated December 18, 2006)........................................................................................ 4-22

Photo 4.18 Photo is an aerial view of the South Breach after Hurricane Katrina with a
significant amount of floodwater still pooled on Jourdan Ave. As can be seen in the
photo, most of the concrete floodwall segment has broken off the sheetpiling in the
northern half whereas towards the southern half, much of the concrete wall has
remained attached to the sheetpiling. The northern part of the failed floodwall displaced
up to about 180 ft to the east and beyond Jourdan Ave. In the southern part of the
breach, the wall displacement was fairly uniform and on the order of 50 ft. In about the
middle of the breach, there is a significant “vertical” face, which can also be seen in
Photo 1, where turbulent flow into the canal was observed. This location was likely the
momentarily south end of the progressive failure of the floodwall. Northeast view. (IPET
report entitled “Performance Evaluation of the New Orleans and Southeast Louisiana
Hurricane Protection System, Final Report of the Interagency, Performance Evaluation
Task Force, Volume V - The Performance - Levees and Floodwalls,” by U.S. Army
Corps of Engineers, June 2007)............................................................................... 4-23

Photo 4.19 Photo of the south part of the South Breach. The photo appears to have
been taken prior to Hurricane Rita, as the ING 4727 Barge is to the east of the school
bus, but after temporary levee material had been placed to the west. The final resting
place of the barge was on the bus. IPET alleges that the longitudinal ditch shown in the
photo is a remnant of the scour trench. But the depth and width of the “trench” or
“slough” does not appear to be consistent with this interpretation. This also can be seen
in a later picture of the “slough” before Rita (see Photo 4.20.) No bottom elevations of



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the “trench” are available. Trench could also have resulted, however, from displacement
of sheetpile from the lateral impact force by the barge (see Figure 4.14). Note the
floodwall has been displaced fairly uniformly to the east at about 50 ft. At the south end
of the breach, the wall is twisted landward and the soil adjacent to the sheetpile has
been washed away during the flooding. The photograph indicates that the water level in
the slough at the south is at about elevation -2.2 ft, or almost 9 ft below the levee crown
(based on as-built drawings). Therefore, the toe of the sheetpile at this location would
be about 8 ft below the water surface. Note wood pole on levee slope, which is south of
the breach, was not knocked down by barge. South view. (https://ilpet.wes.army.mil/,
post Katrina photos, by U.S. Army Corps of Engineers)............................................ 4-24

Photo 4.20 After Hurricane Katrina, where canal water had eroded temporary levee and
was flowing into the Lower 9th Ward on September 12, 2005, through South Breach.
Note at this time barge is not on the school bus. Later flow out of the canal from
Hurricane Rita floodwater caused barge to flow on top of school bus. Photo also
indicates the significant depth of the slough along the wall alignment. Water level in the
slough at the arrow projects out at about 10 ft below the crown, or an elevation of -3.5 ft.
The slough appears widened from flow along failed floodwall at south end. Photograph
also shows longitudinal sinusoidal bowing just south of the failure. North view.
(http://www.Gettyimages.com, ID#71545243, September 11, 2005) ........................ 4-25

Photo 4.21 South Breach during Hurricane Rita. Water level was below floodwall but still
flowing into the Lower 9th Ward through the levee. Note that the drill rig parked on flood-
side north of breach appears to have been left there before Hurricane Katrina, and that
the barge was not on top of the school bus. This photo was taken on September 23,
2005, at 6:57 pm. South view. (Photo copied from hard drive borrowed from Brian A.
Gilbert, Esq., Law Office of Brian A. Gilbert, P.L.C. by the USA, location of photo:
Ingram Barge/KC 764 Part A/Katrina Photos/Ind Canal, September 3, 2005) .......... 4-26

Photo 4.22 Photograph depicts the entire South Breach. Note the longitudinal sinusoidal
bowing of the wall immediately to the south of the breach, that the pole just south of
breach on land side of the levee was not impacted by the barge movement, and that
flattened floodwall is tilted slightly upward near southern end of the breach. Photo dated
September 26, 2005. North view. (http://www.Gettyimages.com, ID#55772729,
September 26, 2005)................................................................................................. 4-27

Photo 4.23 Photograph of the displaced sheetpile at the South Breach and the barge. At
the time the photo was taken, a temporary levee was being installed after Hurricane
Rita. Note the northern portion of the sheetpile extended across Jourdan Ave. Northeast
view. (ILIT report entitled “Investigation of the Performance of the New Orleans Flood
Protection System in Hurricane Katrina on August 29, 2005”) .................................. 4-28

Photo 4.24 Photograph of South Breach after Hurricane Rita. Temporary earthen levee
appears to have been completed. Photo dated October 14, 2005. South view. (IPET
Appendix Volume 2, by U.S. Army Corps of Engineers, ILIT, Figure 1.9, Photo by Les
Harder) ...................................................................................................................... 4-29



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Photo 4.25 Depiction of the scour trench to the north of the South Breach which
appears of uniform width. Also, concentrated deformation at the construction joint exists
along the twisted floodwall at the north end of the breach which has displaced
downslope. South view. (Photos published by Army Corps of Engineers on
https://ipet.wes.army.mil (post-Katrina) for the “Lake Pontchartrain LA and Vicinity”
dated September 27, 2005, and IPET Report Figure 14-26.).................................... 4-30

Photo 4.26 The floodwall at the north end of the South Breach twisted downslope.
Significant deformation occurred along the construction joint. At the joint towards the
middle of the wall panel there appears to be early land side compressive spalling. South
view. (Photos published by Army Corps of Engineers on https://ipet.wes.army.mil (post-
Katrina) for the “Lake Pontchartrain LA and Vicinity” dated October 10, 2005)......... 4-31

Photo 4.27 Depiction of the downslope twisting of the floodwall at the north end of the
South Breach. Essentially all the sheetpile for the most twisted concrete panel (to the
south) is no longer embedded. Some embedment also has been removed from the
northern panel sheetpile. Southeast view. (Photo published by Army Corps of Engineers
on https://ipet.wes.army.mil (post-Katrina) for the “Lake Pontchartrain LA and Vicinity”
dated September 27, 2005.)...................................................................................... 4-32

Photo 4.28 North end of South Breach. Predominant twisting and bending strains
resulting in debonding in bottom and spalling in upper portion of the wall. Note rock fill
installed against wall where floodwaters washed out the levee materials exposing
sheetpile. Photo dated October 4, 2005. Northwest view. (Photo published by Army
Corps of Engineers on https://ipet.wes.army.mil (post-Katrina) for the “9th Ward”) ... 4-33

Photo 4.29 A depiction of a more than 90B downward twist of the floodwall at the north
end of the South Breach. Beyond the construction joint of the most northern twisted
panel, the floodwall concrete has been completely disintegrated with the sheetpile lying
on the top of the ground. End of upper panel shown in the photo appears to have been
only slightly damaged. North view. (Photo published by Army Corps of Engineers on
https://ipet.wes.army.mil (post-Katrina) for the “Lake Pontchartrain LA and Vicinity”
dated October 6, 2005.) ............................................................................................ 4-34

Photo 4.30 A depiction of the north end of the South Breach. Concrete floodwall is fairly
intact north of construction joint. To the south of this joint, the wall is twisted downslope
more than 90B in less than two panel lengths. Northern most twisted panel shows
significant concrete fragmentation and reinforcement exposure. These areas have the
minimum concrete cover over the sheetpile, whereas in intermittent areas have the
greatest cover, and this infill-reinforced concrete remained more “intact”. In the southern
panel, the concrete essentially disintegrated with the sheetpile lying on the top of the
ground. Photo dated October 6, 2005. North view. (Photo published by Army Corps of
Engineers on https://ipet.wes.army.mil (post-Katrina) for the “Lake Pontchartrain LA and
Vicinity”) .................................................................................................................... 4-35




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Photo 4.31 About in the middle of the South Breach where greatest horizontal curvature
section is present. Note tensile debonding on bottom parts of panels and compressive
spalling in the upper segments. Photo dated October 4, 2005. Northeast view. (Photo
published by Army Corps of Engineers on https://ipet.wes.army.mil (post-Katrina) for the
“9th Ward”) ................................................................................................................. 4-36

Photo 4.32 Photograph of the southern portion of the South Breach. Most of the
monolith concrete remained on the sheet pile in this section with frequent “vertical”
cracking and spalling, as well as some concrete missing in localized areas at the “top”
of the wall. Note there is no tensile debonding in lower portion of wall. South view. (IPET
report dated January 10, 2006, Figure 13-24)........................................................... 4-37

Photo 4.33 Photograph of southern part of South Breach after Hurricane Rita with barge
in background. Floodwall has been exhumed and flattened and the wall has been
sheared off at the south end. Note that the sheared end is south of the monolith joint
and is at an acute angle. Photo dated September 26, 2005. East view. (Photograph
from http://www.gettyimages.com ID #55772555)..................................................... 4-38

Photo 4.34 A depiction of the south end of the South Breach where the top of floodwall
was sheared off and the vertical rebar has been bent horizontally landward. The
sheared off portion of the wall occurred at the horizontal cold joint between the 3-ft top
pour and bottom pour which contains the embedded sheetpile. Horizontal rebar are also
bent in landward where exposed at the north fracture surface in the upper pour. Note
rock fill was installed along floodwall where levee washout exposed the sheetpile. Photo
dated October 6, 2005. South view. (Photo published by Army Corps and Engineers on
https://ipet.wes.army.mil (post-Katrina) for the “Lake Pontchartrain LA
and Vicinity”) ............................................................................................................. 4-39

Photo 4.35 South end of South Breach where the top of the concrete wall has been
sheared off beyond the vertical monolith joint. Note tensile debonding due to twisting
and bending. Photo dated October 6, 2005. Southeast view. (Photo published by Army
Corps and Engineers on https://ipet.wes.army.mil (post-Katrina) for the “Lake
Pontchartrain LA and Vicinity,” “IHNC- Inner Harbor Navigation Canal” photos)....... 4-40

Photo 4.36 Photo taken after Hurricane Rita shows the south end of the South Breach
where the top 3 ft of the concrete has been sheared-off to the cold joint and the vertical
and horizontal bars are bent landside. The crumbled concrete from the upper portion of
the wall is adjacent to lower portion of wall. At the construction joint at the north end of
the sheared panel the sheet. Photo dated September 30, 2005. Southwest view. (Photo
from http://www.Gettyimages.com, ID#55832357) .................................................... 4-41

Photo 4.37 A depiction of the top of the sheared-off panel at the south end of the South
Breach. To the east, the top of the sheared panel appears to be more fragmented.
Upper parts of sheetpile are exposed as the concrete has been “spalled” off. Photo is
dated September 27, 2005. Northwest view. (Photo published by Army Corps of




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Engineers on http://ipet.west.army.mil (post-Katrina) for the “Lake Pontchartrain LA and
Vicinity”) .................................................................................................................... 4-42

Photo 4.38 Photograph shows the top of the sheared-off floodwall at the south end of
the South Breach and essentially flat-lying floodwall to the north which has been
displaced about 50 ft to the east. The concrete appears to have been gouged off the top
of the floodwall in the nearest flattened monolith. To the south, the rebar appears bent
over concrete immediately above the sheetpile. Also, an obviously wider scoured
“slough” from flow along the wall to the south can be seen. Note scour wall in levee to
the east of the sheared-off wall from flooding. Northeast view. (Photo from hard drive
obtained from Brian A. Gilbert, Esq., Law Office of Brian A. Gilbert, P.L.C. by the USA,
location of photo: Ingram Barge/KC 764 Part A/Katrina Photos/9th Ward Barge and
Levee Photos, September 2005) .............................................................................. 4-43

Photo 4.39 South end of South Breach showing vertical rebar bent inward and
perpendicular to the laterally bent inward floodwall. Photograph dated October 14, 2005.
(Ingram Barge/KC764 Part A/ Katrina photos/Aftermath/9th Ward Levee by Andres
Bocher-FEMA) .......................................................................................................... 4-44

Photo 4.40 The top of the sheared-off portion of the concrete floodwall above the cold
joint where rebar is bent land side. Concrete above the cold joint is sheared off beyond
the vertical panel joint. Also, note the exposure of the reinforcement in areas of higher
stress in the wall. Photo is dated October 6, 2005. Southeast view. (Photo published by
Army Corps of Engineers on https://ipet.wes.army.mil (post-Katrina) for the “Lake
Pontchartrain LA and Vicinity”)................................................................................. 4-45

Photo 4.41 A depiction of the sheared-off end of South Breach showing the acute
vertical fracture surface and the horizontal cold joint. The horizontal rebar has been bent
southward. Note this photo appears to have been taken after Photo SB28 as the
concrete above the construction joint on the landside has been removed. Southwest
view. Photos published by Army Corps of Engineers on https://ipet.wes.army.mil (post-
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Photo 4.42 A depiction of the south end of the breach where the top portion of the
concrete wall has been sheared off with rebar bent land side and the resulting crumbled
concrete pushed below and behind the remainder of the wall. To the north of this
section, the wall lies fairly flat and is displaced eastward about 50 ft. To the south of
breach, a fairly uniform scour trench is present adjacent to the wall. Note the concrete
ridge above the horizontal construction joint at the south end of the failure. “Dunbar”
photos dated September 27, 2005. North view. (Photos published by Army Corps of
Engineers on https://ipet.wes.army.mil (post-Katrina) for the “IHNC”) ...................... 4-47

Photo 4.43 South end of the South Breach showing rebar bent landward perpendicular
and across construction joint. Displaced curvilinear wall section lower to northeast. As
barge scraped across the construction joint, the canal-side vertical rebar was exposed
and the upper portion of the wall was broken and pushed over the wall below the joint



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level. A scour trench formed from overtopping over the sheared-off wall segment. Note
that at the end of the failure, concrete displaced southward and that the concrete below
the joint has had minimal spalling. Photos published by Army Corps of Engineers on
https://ipet.wes.army.mil (post-Katrina) for the “IHNC”, dated September 27, 2005) ...4-48

Photo 4.44 Final Resting Position of the ING 4727 barge which is oriented northeast-
southwest and in location across Jourdan Ave. and N. Roman St. Also, note the uniform
levee slope behind the floodwall. North view. (Photo provided by Boutte Blair). ..........4-59

Photo 4.45 Southeast of the ING 4727 barge at final resting place. Northwest view.
(IPET website, “Post-Katrina,” “Lake Pontchartrain LA,” 9th Ward Photos, dated October
2, 2005) ........................................................................................................................4-60

Photo 4.46 Northwest and southwest sides of the ING 4727 barge. Barge in final resting
place. Northeast view. (IPET website, “Post-Katrina,” “Lake Pontchartrain LA,” IHNC
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Photo 4.47 Northeast end of Barge ING 4727. Barge in final resting place. (Photo from
Brian A. Gilbert, Esq., Law Office of Brian A. Gilbert, P.L.C., location of photo: Photos
by Mr. O’Dwyer/Pictures #2/ High Res/1.jpg, CD provided by Bartlett) ........................4-62

Photo 4.48 Southeast side of Barge ING 4727 barge in final resting place. Note power
pole below barge is approximately perpendicular to it. North view. (IPET website, “Post-
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Photo 4.49 Parallel scrapes along southwest end and along bottom of ING 4727 barge.
Spacing of scrapes range from 6 in. to 13 in. (Photos taken by H. Pazos)...................4-64

Photo 4.50 Parallel scrapes along southwest end and bottom of ING 4727 barge. In the
bottom photo the spacing of scrapes are at about 11 in. (Photos taken by
H. Pazos) .....................................................................................................................4-66

Photo 4.51 Parallel scrapes along southwest end and bottom of ING 4727 Barge. In
bottom photo spacing of scrapes from about 7 in. to 13 in. (Photos taken by
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Photo 4.52 Parallel scrapes along bottom of ING 4727 barge. Scrapes are spaced at
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Photo 4.53 Northeast end of the Bilge Plate of the ING 4727 barge. Note no scrapes are
present on this end of the barge (LNA001090). ...........................................................4-69

Photo 4.54 Citrus Back Levee Breach along north side of GIWW. Breach is 2,000 ft long
and is called NOE 04 by IPET. Uniform tilting of the I-wall from landward rotation of the
wall and a water filled gap has formed between sheetpile and ground. Except for
twisting joint related deformation at the end of the breach there is little concrete wall



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damage. Note significant washout out of inboard levee crown. East view (from IPET
Report Volume V, Figure 13-34). .................................................................................4-70

Photo 4.55 Citrus Back Levee I-wall breach on flood side in the maximum tilt area. In
this section there is minimal concrete wall damage due to the uniform rotation of the
wall. Outboard water-filled gap resulted from wall rotation. East view. (from IPET
Report, Volume V, Appendix 17, Figure V-17-40) ........................................................4-71

Photo 4.56 West end of the Citrus Back Breach. Appears from this photograph that the
I-wall rotated as much as about 30E inboard. At this end of the 2,000 ft breach some
concrete spalling from bending and concentrated twisting at the monolith joints can be
seen. Note the significant washout along the wall inboard and these soils adjacent to
floodwall appear silty. East view. (from IPET Report, Volume V, Figure 78). ..............4-72

Photo 4.57 Citrus Bank I-wall east of breach section on in board side. Levee material
appears more cohesive than in the vicinity of the breach (see Photo B-3). Along this
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in background are not tilted. Photograph is dated November 2005. Northwest view.
(Photograph from NOHPP website: Post-Katrina/Photographs/ Plaquemines Parish




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2005.11(Nov)/Photographs combined in pdf./Plaquemines Parish 2005.11(Nov)03
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Generally gradual twisting in panel joints without damage to the concrete wall monoliths.
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NOHPP          website:            Post-Katrina/Photographs/Plaquemines                                  Parish           2005.11
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separated from land side levee which appears to be the result of the wall bending back
toward the canal as the levee material slumped inward (also see Photo 4.81). Southeast
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(on front cover: IPET Appendix Volume 5, by U.S. Army Corps of Engineers and Team Louisiana final
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1.0 INTRODUCTION

1.1 Scope and Objective

       At the request of Wiedemann and Wiedemann, Marino Engineering Associates,
Inc. (MEA) under took an investigation of the cause(s) of the two floodwall failures along
the Inner Harbor Navigation Canal (IHNC). These two breaches which caused flooding
along into St. Bernard Parish. This investigation included primarily examining project
information, determining project conditions, performing various failure analyses, and
evaluating results from such analyses.


              Project information used in this investigation primarily included:


       •   IPET website

       •   Team Louisiana Report

       •   ILIT Report

       •   Deposition Transcripts

      Information which was particularly relevant to this investigation from IPET
included photographs related to the floodwalls and ING 4727 barge, technical reports,
as-built and design drawings, project boring logs, and soil laboratory testing data. Other
information found pertinent to this investigation are referenced in this report.

1.2 Report Contents

      Section 2.0 of this report summarizes information on the more recent land
development along the waterfront of the IHNC east breaches, and constructed
floodwall-levee conditions. In Section 3.0, data is provided on conditions which were
present during Katrina. This would include witness observations, storm winds, surge,
and induced waves as it may relate to the Lower 9th Ward I-wall breaches. Section 4.0
contains descriptions and analyses of I-wall damage, both at the breach sites and other
locations, as well as for the ING4727 barge conditions. At the end of Section 4.0 is a



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subsection on the scour conditions for overtopping I-walls. Section 5.0 contains a
determination of the ground surface and subsurface conditions immediately prior to
Katrina. This information was used in for failure analysis modeling and investigation.
These results are presented and an overall failure analyses are performed. In Section
6.0, IPET and ILIT failure investigations are examined. The report findings are then
summarized in Section 7.0. Cited references are provided in Section 8.0.

1.3 IHNC Construction History


      The construction of IHNC began on June 6, 1918. Excavation was started with
the construction of parallel dikes on either side of the proposed canal. These dikes
were gradually built up to become permanent protective levees. The excavation of the
canal was finished in September 1919 with the IHNC completed on January 29, 1923.


      After the flooding caused by Hurricane Betsey in 1965, which included the Lower
9th Ward, flood protection improvement was initiated. This consisted of levee
enlargement and I-wall construction along the North and South Breach areas by 1969.
Just north of the North Breach improvements were made after 1980. The design and
as-built conditions of the improvements are discussed in Section 2. The discussion of
the construction history was determined from the ILIT and IPET reports.




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2.0 PROJECT DESCRIPTION

2.1 Land Development History Along the IHNC (East Waterfront)

       Air photos in the project area were examined from 1996 to 2005. Photo 2.1 was
taken on October 18, 1996. This aerial photograph shows that there is a significant
amount of infrastructure at this time and that the Jourdan Ave. Canal, which is depicted
in the as-built drawings dated in 1969, (see Sections 2.2 and 2.3), has been filled.
Present in both air photos in 1996 and 1998 (see Photos 2.1 and 2.2) is an about 40 ft x
40 ft pit to the north-northwest of the North Breach, apparently created from the removal
of one of the buildings.


       An aerial photograph taken on November 13, 2002, is shown in Photo 2.3. By the
time this photo was taken, all the industry depicted in the earlier photographs was gone.
It should be noted that at least by 2001, the Washington Group International had begun
their work on the environmental cleanup of this area. Trailers along the northern portion
of the floodwalls appear related to these activities. As can be seen in this photo, there
are excavated pits between the North and South Breaches and trenches dug, now
water-filled, along the western toe of the floodwall embankment at the South Breach
and to the north. The southern section of the trench appears to have been connected to
the canal at the south end.


       By 2004 there had been additional waterfront excavation between the North and
South Breaches. As can be seen in Photos 2.4 and 2.5, isolated low ground surface
areas show ponded water adjacent to the North and South Breaches. The aerial
photograph taken on April 13, 2005, indicates a significant amount of excavation
between the two breach areas to where the shoreline is as close as 60 ft to the floodwall
(see Photo 2.6). Also depicted is a localized excavation to the east, along the shoreline
west of the North Breach, with a minimum scaled distance to the wall of 250 ft. Also, by
this time, the water-filled trenches adjacent to the South Breach area had been filled in.




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